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                             UN ITED STATES DISTRICT COURT                    FILED BY                  D.C.
                            SO UTHERN D ISTRICT O F FLO RIDA
                                                                                    02T 22 2221
                                                                                    ctrnrLllllîlté 'm
                                                                                    S.D,OF FLA.-MIAMI
    SECU RITIES AND EXCHA NGE COM NIISSION ,

                           Plaintiftl                       N OTICE O F M O TION

                                                            N o.1:2l-CV-21079

    M W TBROKER INTERNATIONAL,LTD.,                         Hon.Beth Bloom
    f/k/aSW ISS AM ERICA SECU RITIES LTD .
    and (Fb/a SURETRADER,and
    GUY GENTILE,a/k/a GUY GENTILE NIGRO ,


                          Defendant.


                         DEFENDANT'S 51OTIO N FO R ENLA RG ESIENT
                                 O F TIM E TO ANSW ER O R
                          OTHERW ISE RESPO N'D TO TH E C OM PLAINT



          DefendantGuy Gentile(t:flentilef')respectfully movestothisCourtpursuantto FederalRule
   ofCivilProcedure6(b)(1)(A)foranenlargementoftimetofileananswerorotherwiserespondto
   the complaintin thisaction broughtby theplaintifrSecuritiesand ExchangeCom mission. Defendant

   submitsthatitsinitialresponse isdue by N ovem bcr l,2021, and forit'sco-defendanton October27,

   2021.A proposed ordergranting thism otion isattached.




   Dated:                                                    R      tfully s m itted,
   October 16,202l
                                                             G       GEN TIL
                                                             De           , ro Se
                                                             103 AveDe Diego
                                                             Apt52202
                                                             San Juan,PR 0091l
                                                             787-363-7833
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                                    PRELIM IN
                                            . ARY STATESIENT

          Iam representing myselfin the abovcreferenced m atter Iam m aking thismotion to requestan

  enlargem entofthe tim e to Answerthe com plaintin thismatterform yselt-and m y co-defendant

  M intBrokerlntem ational,Ltd.

          Thereisgood causetograntthismotion.TheSecuritiesandExchangeCommission (tkSEC'')has
  filedan actioninthiscourtagainstmyselfandM intBrokerlnternational,Ltd,akaSureTrader(:'M BI'').l
  am ashareholderand aD irectorofM BI.lseek to protectm y interestin M BIby thisunusualrequestto

  seek an enlargementoftime answering sinceldo notand cannotrepresentM BIin thism atter;and in the

  interestsofjusticeand fairnesstoseekthetnlthofthemattersratherthanresolutionbydefault,toask in
  thismalm eristhe only way lam aware doing it.

          The SEC'ScomplaintstatesM BIisinvolved in litigation in the Baham as,the country ofits

  fonnation.TheSecuritiesCommissionoftheBahamas(t:SCB'')broughtacauseseekingto
  dissolve/ç'wind-up''M BI.TheBaham ian Suprem e Court,Com m ercialDivision case ispending in Nassau

  undercause number00014 of2020,entitled CCIN THE M ATTER ofthe CompaniesAct,CH.308AND IN

  THE M ATTER ofanApplication undertheSecuritieslndustryA ct,2011AND IN THE M ATTER OF

  M intBrokerlnternational,LTD.(FORM ERLY SwissAmericaSecurities,LTD.)T/A SURE TRADER
  SwissAm erica Securities,a Registered SecuritiesFinu''Hon.M rs.Justice Stewartpresiding.The

  litigation isongoing.''See SEC Com plaint,3/22/2021,ECF No.1,pages3-4,
                                                                       'see Suprem e Courtofthe

  Baham asOrder,3/19/2020,ExhibitA to m y Declaration supporting thismotion.

         A sashareholderofM BI,Ichallenged the SCB overthewind-up ofM BI.Thecase hasgoneto

  trialand isawaiting a courtorderastow hetherM Blisdissolved ornot.A decision from M rs.Justice

  Stewartisexpected within thenext90 days.

         lfM Blisnotgranted an extension to answerthiscomplaint,ifitisordered outoftheBahamian

  receivership atalatertime,my interestsarenotprotected because M Blhasno ability atthistime to actto

  protectitsinterestsin thiscase.


                                                   1
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         M y Baham ian attolmcy requested astay on the reccivcrship actionswhich w asgranted by trial

  motion b) Nfrs,Justice Stewartu'ho Ordercd that''nothing happens''regarding the actionsofthe Rcceiver.

  M y Baham ian counseladvised me thatthe Receiq'ercannotaetdue to thethreatofcontem pt. Norwould

  any requestto actnow would be meaningfulbecause,asadvised by m y Baham ian counsel,by thetim e

  any requestism ade orheard,there would mostlikely bea decision orthe requesb/m otion denied because

  ofa forthcoming decision.M y Baham ian counselalso advised m ethat1can nothirecounselto represent

  thecompany asal1ofmy powersatCEO & Directorhavebeen rem oved when the Receiverwas

  appointed.

         By having M BIdefaultaffectsm y interestsin M Blnegatively in the following manners:

         ln applying forotherindustry licenses,having a com pany wound down by a courtorderreliever

         isa negative and affectsmy ability to earn a living;Defaulting in thisaction willcause a

         monetaryjudgmenttobeenteredNOT onthemeritsofthisactionbutbytheunusual
         circum stancesM Blisplaced by thisaction and the Baham ian cause'
                                                                         ,Thereceiverisin controlof

         the recordsforM BIw hich M B1and m yselfneed to defend thisaction.

         TheSEC waited6yearstobringthisaction.SajaadMatinadvisedAdam Ford,whorepresented
  me in theNJDOJand SEC cases,thatthey would filethiscase in M arch 2016.SeeFord Dec.,3/5/2019,

  Pgge 3,par.9-10,in ExhibitB to my Declaration.

         Additionally,the SEC refused to tellme whatifanything the tir'
                                                                      m orm yselfwasdoing wrong.

  SeeFord/sajjad emails,dated 10/11-17/2017,ExhibitC tomyDeclaration.
         lam actively defending my interestin theBaham as,butl'm stuck in an unusualsitt
                                                                                       zation,where

  I'm defending on one front,and havem y handstiéd in another.The SEC shouldn'tgetawin by lçdefault''

  dueto thiscircum stance,itshould only win iftheircgse hasm erits,which Icertainly believe they do not.

         The SEC clearly doesnotoppose thisrequestasthey did notoppose my requestby letterseeking

  90 daysto answersentto thecourttwo weeksago on Sept.29,2021 and posted on pacerO ct.6,2021.

  SeeECF DocNo.23, Sept.20,2021ExhibitD to my Declaration.

         lhave emailed the SEC priorto m aking thism otion seeking theirconsentto thisextension.They

  are aware ofthiscause in theBaham as,they referenced itin theircomplaintand they have worked with

                                                    2
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  the SC'B againstNIBItbrquite somc tim e.See emailto M s.Sum .dated 10,l2,2021.ExhibitE to m y

  Declaration.

         Good Cause

         Iam awaiting a ruling ahertrialconccrning the fateofM BI,whetheritwillbe dissolved. Given

  theimpactthe Baham asSuprem eCourt'sdecision willhaveon m yselfand m y interestsin M BI,

  extending the tim e to answ erin thiscase for90 daysm akesthem ostsense.ThisCourtisobviously

  empoweredwith C'thepowerto stayproceedings(aslincidentaltothepowerinherentineveryCourtto
  controlthe disposition ofthe causeson itsdocketwith economy oftim e and effortforitself,forcounsel,

  and forlitigants.''fandisuN Am.Co.,299U.S.248,254 (1936).içln theexerciseofitssound
  discretion,aCourtm ay hold one lawsuitin abeyance to abide the outcom e ofanotherwhich m ay

  substantially affectitorbedispositive oftheissues.''BechtelCorp.u Local2l5,Laborers'lnt'lUnion of

  N.Am.,544F.2d 1207,1215 (3dCir.1976).
         Iam currentlypm se,and going through aleam ing cun,e on tiling procedures. I'm reading

  through case1aw to educate myselfon how to besthandlethiscaseuntilIcan find counsel.Aspreviously

  m entioned in my letterto the Courtdated September29, 2021,thisisa heavily docketed issueofover

  five(5)casesinvolving myselfandtheSEC regardingthismatter.SeescreenshotofsuchcasesonPacer,
  ExhibitG to my Declaration. This isa complex securities.casethatspans 10 years.The SEC waited 6

  yearstot5lethiscase,thestatuteoflimitationnotnmning.ThereforetheSEC willnotbeprejudicedby
  waitingninety (90)daysforananswer.
         Conclusion

         Forthe abovereason lrespectfully requestthiscourtGrantm eand m y co-defendantan

  cnlargem entofthetim eto answ erof90 days.

                                                               Respectully subm itted,


                                                               GU GENTILE
                                                               Def da             o Se
                                                               103Ave De Diego,52202
                                                               San Juan,PR 00911
                                                               787-363-7833
                                                               'J.
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                          UNITED STATES D ISTR ICT CO UR T

                         SOUTH ERN DISTRICT O F FLORIDA



    SECU RITIES AND EXCHANGE COM M ISSION,
                                                     CER TIFICA TIO N O F SERV ICE
                         Plaintiff,
                                                         No.1:2l-CV-2l079
                 V.
                                                         Hon.Beth Bloom
    M INTBROKER INTERNATIONAL,LTD.,
    f/k/a SW ISS AM ERICA SECURITIES LTD .
    and d/b/aSURETRADER,and
    GUY GENTILE,a/lk/a GUY GENTILE N IGRO ,


                        Defendant.


                               C ERT IFICA TIO N O F SER V ICE

               1,Guy Gentile,certify thata copy ofm y m otion dated 10/15/2021,w ith its

        declaration and exhibits w assenred upon

                                      A lice K .Sum
                                      U .S.Securities and Exchange Com m ission
                                      801B rickellA ve,Suite 1950
                                      M iam i,Florida 33131
                                      Elnail-sttlualt'iscc.)
                                                           .tk'&


        by U SPS FirstClass M ailon October 16,2021.

                                                               g.'
                                                               .


       D ated: October 16,2021
                                                           G     GEN       E
                                                           D fen t,pro se
                                                           103 A ve D e D iego,A pt52202
                                                           San Juan,PR 00911
                                                           guygentile@outlook.com
                                                           787-363-7833
